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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII


  A. B., BY HER PARENTS AND NEXT                CIV. NO. 18-00477 LEK-RT
  FRIENDS, C.B. AND D.B.; T. T., BY
  HER PARENTS AND NEXT FRIENDS,
  K.T. AND S.T.; A. M. B., BY THEIR
  PARENTS AND NEXT FRIENDS, C.B.                SECOND AMENDED RULE 16
  AN D.B.; AND A. P.,                           SCHEDULING ORDER

                      Plaintiffs,

        vs.

  HAWAII STATE DEPARTMENT OF
  EDUCATION, OAHU
  INTERSCHOLASTIC ASSOCIATION,

                      Defendants.


              SECOND AMENDED RULE 16 SCHEDULING ORDER

        Pursuant to Fed. R. Civ. P. 16 and LR 16.2, a scheduling conference was held on

  July 12, 2022, before the Honorable Rom A. Trader, United States Magistrate Judge.

  Appearing at the conference were Jongwook Philip Kim, Elizabeth Kristen and Jayma

  M. Meyer on behalf of Plaintiffs, and Lyle S. Hosoda and Kendall J. Moser on behalf

  of Defendants.

        Pursuant to Fed. R. Civ. P. 16(e) and LR 16.3, the Court enters this scheduling

  conference order:

  TRIAL AND PRETRIAL CONFERENCE SCHEDULING:
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  1.      NON-JURY trial in this matter will commence before the Honorable Leslie E.

  Kobayashi, United States District Judge on October 2, 2023 (Monday), at 9:00 a.m.

  2.      A Telephonic final pretrial conference shall be held on August 22, 2023, at 9:00

  a.m. before the Honorable Rom A. Trader, United States Magistrate Judge.

  3.      (RESERVED)

  4.      Pursuant to LR 16.4, each party herein shall serve and file a separate final

  pretrial statement by August 15, 2023.

  MOTIONS:

  5.      The deadline to file all motions to join additional parties or to amend the

  pleadings is CLOSED.

  6.      Other non-dispositive motions, except for motions in limine and discovery

  motions, shall be filed by July 5, 2023.

  7.      Dispositive motions shall be filed by May 3, 2023.

  8.      Motions in limine shall be filed by September 12, 2023.

  Any opposition memorandum to a motion in limine shall be filed by September 19,

  2023.

  DISCOVERY:

  9.      Unless and until otherwise ordered by the Court, the parties shall follow the

  discovery plan agreed to by the parties herein pursuant to Fed. R. Civ. P. 26(f).

  10.     (RESERVED)




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  11.      Each party shall make the disclosures regarding expert witnesses or other

  witnesses with specialized knowledge as required by Fed. R. Civ. P. 26(a)(2) according

  to the following schedule:

           a.     All plaintiffs shall comply by March 3, 2023.

           b.     All defendants shall comply by May 3, 2023.

  Rebuttal disclosures to a witness identified by another party pursuant to subparagraphs

  a and b hereinabove shall occur within thirty (30) days after the disclosure by the other

  party.

  12.      Pursuant to Fed. R. Civ. P. 16(b)(3) and LR 16.2(a)(6), the discovery deadline

  shall be August 4, 2023. Unless otherwise permitted by the Court, all discovery

  pursuant to Federal Rules of Civil Procedure, Rules 26 through 37 inclusive must be

  completed by the discovery deadline. Unless otherwise permitted by the Court, all

  discovery motions and conferences made or requested pursuant to Federal Rules of

  Civil Procedure, Rules 26 through 37 inclusive of LR 26.1, 26.2 37.1 shall be heard no

  later than thirty (30) days prior to the discovery deadline.

  SETTLEMENT:

  13.      A Telephonic settlement conference shall be held on July 7, 2023, at 10:00 a.m.

  before the Honorable Rom A. Trader, United States Magistrate Judge.

  14.      Each party shall deliver to the presiding Magistrate Judge a confidential

  settlement conference statement by June 30, 2023. The parties are directed to LR

  16.5(b) for the requirements of the confidential settlement conference statement.




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  15.      The parties shall exchange written settlement offers and meet and confer to

  discuss settlement before the date on which settlement conference statements are due.

  TRIAL SUBMISSIONS:

  16.      (RESERVED)

  17.      (RESERVED)

  18.      (RESERVED)

  19.      (RESERVED)

  20.      (RESERVED)

           WITNESSES:

  21.      By September 12, 2023, each party shall serve and file a final comprehensive

  witness list indicating the identity of each witness that the party will call at trial and

  describing concisely the substance of the testimony to be given and the estimated time

  required for the testimony of the witness on direct examination.

  22.      The parties shall make arrangements to schedule the attendance of witnesses at

  trial so that the case can proceed with all due expedition and without any unnecessary

  delay.

  23.      The party presenting evidence at trial shall give notice to the other party the day

  before of the names of the witnesses who will be called to testify the next day and the

  order in which the witnesses will be called.

           EXHIBITS:

  24.      By September 5, 2023, the parties shall premark for identification all exhibits

  and shall exchange or, when appropriate, make available for inspection all exhibits to


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  be offered, other than for impeachment or rebuttal, and all demonstrative aids to be

  used at trial.

  25.    The parties shall meet and confer regarding possible stipulations to the

  authenticity and admissibility of proposed exhibits by September 12, 2023.

  26.    By September 19, 2023, the parties shall file any objections to the admissibility

  of exhibits. Copies of any exhibits to which objections are made shall be attached to

  the objections.

  27.    The original set of exhibits (in individual file folders, exhibits marked, file

  folders labeled) and two copies (in binders, exhibits marked and tabbed) and a list of all

  exhibits shall be submitted to the Court the Thursday before trial.

         DEPOSITIONS:

  28a.   By September 12, 2023, the parties shall serve and file statements designating

  excerpts from depositions (specifying the witness and page and line referred to) to be

  used at trial other than for impeachment or rebuttal.

    b.   Statements counter-designating other portions of depositions or any objections

  to the use of depositions shall be served and filed by September 19, 2023.

         TRIAL BRIEFS:

  29.    By September 19, 2023, each party shall serve and file a trial brief on all

  significant disputed issues of law, including foreseeable procedural and evidentiary

  issues, setting forth briefly the party's position and the supporting arguments and

  authorities.

         PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW:


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  30.    Each party shall serve and file proposed findings of fact and conclusions of law

  by September 19, 2023.

  OTHER MATTERS:

         Court continues the Telephone Conference set for September 14, 2022 at 8:30

  a.m. before Magistrate Judge Trader to November 1, 2022 at 8:30 a.m. No

  submissions required.

         For all telephonic hearings before Magistrate Judge Rom A. Trader, the parties

  are to participate via telephone through our AT&T Service. Parties and other

  participants must call-in at least five (5) minutes prior to the scheduled start time of the

  conference. Call-in instructions are below:

  1. Dial 1-888-363-4735.

  2. Enter Access Code 2070326.

         The Confidential Settlement Conference statements shall be delivered (one-set,

  hard copy) to the Clerk’s Office and an electronic copy to be emailed to

  Trader_Orders@hid.uscourts.gov.

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         IT IS SO ORDERED.

         DATED: Honolulu, Hawaii, July 12, 2022.




                                                    Rom A. Trader
                                                    United States Magistrate Judge




 Civ. No. 18-00477 LEK-RT; A. B., By Her Parents and Next Friends, C.B. and D.B.; T. T., By Her Parents and
 Next Friends, K.T. and S.T.; A. M. B., By Their Parents and Next Friends, C.B. an D.B.; and A. P. vs. Hawaii State
 Department of Education, Oahu Interscholastic Association; Second Amended Rule 16 Scheduling Order




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